     Case 3:20-cv-00079-MMD-CLB Document 175 Filed 12/06/21 Page 1 of 1



1                              UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3                                                 ***

4      KENTRELL WELCH,                                    Case No. 3:20-CV-0079-MMD-CLB
5                                         Plaintiff,           ORDER RE THE FILING
                                                                 OF RESPONSES
6            v.
7      ISIDRO BACA, et al.,
8                                     Defendants.
9

10           Due to the number of filings by Plaintiff, Defendants shall not file an opposition or
11    response to any motion or paper filed by Plaintiff unless and until ordered to do so by this
12    Court. Defendants shall continue to participate in discovery as set forth by the Court’s
13    scheduling order and comply with all deadlines listed in that order.
14

15                  December 6, 2021
             DATED: ______________.
16

17                                               UNITED STATES MAGISTRATE JUDGE
18

19

20

21

22

23

24

25

26
27

28
